
LEWIS, J.
We have for review Adams v. State, 750 So.2d 659 (Fla. 4th DCA 1999). We have jurisdiction. See art. V, § 3(b)(3), Fla. Const.
We vacate the decision of the district court below and remand for reconsideration upon application of our decisions in Grant v. State, 770 So.2d 655 (Fla.2000); State v. Cotton, 769 So.2d 345 (Fla.2000); McKnight v. State, 769 So.2d 1039 (Fla.2000); and Ellis v. State, 762 So.2d 912 (Fla.2000).
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, and PARIENTE, JJ., concur.
QUINCE, J., dissents.
